
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-09-304-CR



THE STATE OF TEXAS	STATE



V.

ROBERT VALDEZ &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;	 &nbsp;						 &nbsp;APPELLEE

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FROM COUNTY CRIMINAL COURT NO. 2 OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered the “State’s Motion To Dismiss Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. 
 
Tex. R. App. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
 See id.
; Tex. R. App. P
.
 43.2(f).

It is further ordered that the State shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. Code Crim. Proc. Ann. art. 
44.01(f) (Vernon Supp. 2004-05).

PER CURIAM



PANEL: 
MEIER, J.; LIVINGSTON, C.J.; and DAUPHINOT
, J.

DO NOT PUBLISH

Tex. R. App. P
. 
47.2(b)



DELIVERED: April 22, 2010

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




